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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                No. 4:14CR00147-07 JLH

MARIA GARCIA                                                                     DEFENDANT

                                           ORDER

       The United States’ motion to dismiss indictment as to Maria Garcia is GRANTED.

Document #355. Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the indictment

and superseding indictment as to Maria Garcia are hereby dismissed without prejudice.

       IT IS SO ORDERED this 19th day of February, 2016.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
